446 F.2d 1397
    UNITED STATES of America, Plaintiff-Appellee,v.Johnny Lincoln MILLS, Defendant-Appellant.No. 71-1219 Summary Calendar.**Rule 18, 5 Cir., Isbell Enterprises, Inc.v.Citizens Casualty Company of New York et al., 5 Cir. 1970,431 F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    Aug. 5, 1971.
    
      Johnny L. Mills, pro se.
      Paul T. Marks, Tampa, Fla.  (Court appointed), for defendant-appellant.
      John L. Briggs, U.S. Atty., Tampa, Fla., for plaintiff-appellee.
      Appeal from the United States District Court for the Middle District of Florida; Ben Krentzman, Judge.
      Before JOHN R. BROWN, Chief Judge, and AINSWORTH and INGRAHAM, Circuit Judges.
      PER CURIAM:
    
    
      1
      The appellant was convicted by a jury of interstate transportation of a stolen motor vehicle, a violation of 18 U.S.C.  2312.  After sentencing, the appellant's court-appointed attorney filed a notice of appeal in his behalf, but now moves this Court to relieve him as appellate counsel on grounds that the appeal is frivolous.  In compliance with Anders v. California, 1967, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493, counsel has supplemented his motion with a brief.  Therein he states that after a conscientious examination of the record, he can find no issue which might arguably support the appeal.  The appellant himself has been advised of his right to respond to counsel's motion by raising any points he claims are appealable.  He has failed to submit any such reply.
    
    
      2
      We have carefully reviewed the entire record in this case and find no arguable merit in the appeal.  We, therefore, dismiss the appeal under Local Rule 18, and grant counsel's motion to withdraw.  See United States v. Minor, 5th Cir. 1971, 444 F.2d 521; Lemus v. Government of Canal Zone, 5th Cir. 1971, 443 F.2d 23.
    
    